       Case 1:11-cr-00092-LJO Document 29 Filed 04/06/11 Page 1 of 3



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 2   KAREN A. ESCOBAR
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 7

 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          )       1:11-cr-00092 OWW
                                        )
12                  Plaintiff,          )
                                        )
13        v.                            )       STIPULATION RE:
                                        )       CONTINUANCE AND ORDER
14   ADRIAN ROSALES-FUENTES, et al.,    )
                                        )
15                                      )
                    Defendant.          )
16   ___________________________________)

17        Defendant ADRIAN ROSALES-FUENTES, by and through his

18   attorney, GARY HUSS, Defendant JOSE ROSAS-FIGUEROA, by and through

19   his attorney, KATHERINE HART, and the United States of America, by

20   and through its attorneys, BENJAMIN B. WAGNER, United States

21   Attorney, and KAREN A. ESCOBAR, Assistant United States Attorney,

22   hereby enter into the following stipulation:

23        1.   The parties to the above-captioned matter agree to vacate

24   the April 11, 2011, 1:30 p.m. hearing date, set in this matter,

25   and reset the matter for May 16, 2011, at 9:00 a.m.

26        2.   The parties stipulate that the continuance is necessary

27   due to the unavailability of counsel for the government, who will

28   be on annual leave April 11 and will need three weeks to

                                          1
       Case 1:11-cr-00092-LJO Document 29 Filed 04/06/11 Page 2 of 3



 1   recuperate from surgery scheduled April 19.

 2         3.   The parties further stipulate that time should be

 3   excluded in the interest of justice.

 4   DATED: April 4, 2011                       Respectfully submitted,

 5                                               BENJAMIN B. WAGNER
                                                 United States Attorney
 6
                                                 By: /s/ Karen A. Escobar
 7                                                 KAREN A. ESCOBAR
                                                 Assistant U.S. Attorney
 8
                                                   /s/ Gary Huss
 9                                                 GARY HUSS
                                                   Attorney for Defendant
10                                                 ADRIAN ROSALES-FUENTES

11                                                 /s/ Katherine Hart
                                                   KATHERINE HART
12                                                 Attorney for Defendant
                                                   JOSE ROSAS-FIGUEROA
13
                                   O R D E R
14
           Having read and considered the foregoing stipulation,
15
           IT IS THE ORDER of the Court that the current hearing date of
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     April 11, 2011, at 1:30 p.m., is hereby vacated in this matter and
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     is reset for May 16, 2011, at 9:00 a.m.
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           The Court further finds that the ends of justice served by
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     granting the requested continuance outweigh the best interests of
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     the public and the defendant in a speedy trial, in that the
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     failure to grant the continuance would deny the government
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     continuity of counsel and deny the parties the opportunity to
23
     continue pretrial investigation and pursue plea negotiations.
24
           WHEREFORE IT IS HEREBY ORDERED that time shall be excluded in
25
     the interest of justice, pursuant to 18 U.S.C. § 3161(h)(8)(A).
26
     ///
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     ///
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                                          2
        Case 1:11-cr-00092-LJO Document 29 Filed 04/06/11 Page 3 of 3



 1         IT IS SO ORDERED.

 2   Dated: April 5, 2011                   /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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